CaSe 8-18-73315-|&8 DOC 13 Filed 07/16/18 Entered 07/16/18 14208230

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

IN RE: Hearing Date: August 9, 2018
Hearing time: 91 30 am
LETESHA SMITH
AKA LETESHA ROBINETTE STRONG, Case No.: 18-73315-las
AKA LETESHA ROBINETTE SMITH, Chapter 13
AKA LETESHA STRONG Judge: Louis A. Scarcella
Debtor.

 

OBJECTION TO CONFIRMATION

Courtney R Williams, Esq., an attorney duly admitted to practice before the United States Bankruptcy

Court for the Eastern District of New York, states the following under the penalty of perjury:

1. I am an attorney at law duly licensed to practice before this Court and an associate with the
office of Gross Polowy, LLC, attorneys for Seterus Inc. as serving agent for FEDERAL NATIONAL
MORTGAGE ASSOCIATION ("FANNIE MAE"), A CORPORATION ORGANIZED AND EXISTING
UNDER THE LAWS OF THE UNITED STATES OF AMERICA (“Secured Creditor”), and as such, am fully
familiar with the facts and circumstances of the present case.

2. Secured Creditor is the holder of a note secured by a mortgage on real property commonly

known as 13 Oakland Drive North, Riverhead, NY 11901 which property is owned by the Debtor.

3. The Debtor filed a Chapter 13 Plan on May 15, 2018 which lists arrears in the amount of
$27,000.00.

4. Secured Creditor will file a Proof of Claim listing approximately $37,601.67 in pre-petition
arrears.

5. Additionally, the Debtor’s proposed Chapter 13 Plan provides for total plan payments in the

amount of $33,000.00, which is insufficient to fully pay the arrears owed to Secured Creditor. Accordingly,
the Debtor’s proposed Plan is not feasible

6. As the Debtor’s proposed plan fails to provide for full payment of the arrears listed in the
Proof of Claim to be filed by Secured Creditor and fails to provide for sufficient funds to be paid into the Plan,

confirmation of the Plan must be denied pursuant to 11 U.S.C.§l325.

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WHEREFORE, it is respectfully requested that this Court deny confirmation of the Debtor’s

proposed plan, and for such other and further relief as to this Court deems just and equitable.

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Courtney R Williaii”:§, Esq,

